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                                                          U.S. Department of Justice
                                                          United States Attorney
                                                          District of Maryland

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                                                   October 3, 2022


Honorable Peter J. Messitte
United States District Judge
United States Courthouse
6500 Cherrywood Lane
Greenbelt, MD 20770


                                Re: United States v. Roske
                                    Criminal No. PJM-22-209

Dear Judge Messitte:

       As your Honor may recall, the defendant in the above-referenced matter has been charged
by indictment with attempted assassination of a United States Supreme Court Justice in violation
of 18 U.S.C. § 351(c). He has been detained by consent since his arrest on June 28, 2022.
Discovery has been produced and a Speedy Trial Order is in place.

       The parties have been in communication and respectfully request a scheduling/status
conference.

          I am available at the Court’s convenience if further information is needed.

                                                          Very truly yours,

                                                          Erek L. Barron
                                                          United States Attorney


                                                          ____________________________________
                                                          Kathleen O. Gavin
                                                          Assistant United States Attorney

cc: Andrew Szekely, Esquire
    Meghan Michael, Esquire
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